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                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

IN RE BLUE CROSS BLUE SHIELD         :
ANTITRUST LITIGATION                 : Master File 2:13-cv-20000-RDP
MDL 2406                             :
                                     :
                                     :
                                     : This document relates to
                                     : Subscriber Track cases




                SUBSCRIBERS’ POST-HEARING BRIEF
       IN SUPPORT OF FINAL APPROVAL OF CLASS SETTLEMENT
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                                        INTRODUCTION

       In accordance with this Court’s request during the final approval hearing held on October

20 and 21, 2021, Settlement Class Counsel for Subscribers submit this post-hearing brief in

support of final approval of the settlement reached between Subscribers and Defendants. We

address below (1) the legality of the Defendants’ system as it will exist after the settlement

becomes effective; (2) the treatment of the Second Blue Bid relief as relief available to the Self-

Funded Sub-Class included in the certification under Rule 23(b)(3); (3) the allocation of

settlement funds between Self-Funded Sub-Class and the Fully Insured Claimants; 1 (4) the

objection that the settlement somehow violates contractual rights to arbitrate claims (it does not);

and (5) certain objections filed after the hearing relating to the Plan of Distribution.

       As shown below, the objections fail to show that the Settlement is unfair, unreasonable,

or inadequate. Accordingly, the Court should overrule the objections and approve the

Settlement.

                                           ARGUMENT

I.     The Settlement’s Structural Relief Creates A Post-Settlement System That Is
       Procompetitive And Not Clearly Illegal.

       At the hearing on final approval of the proposed settlement, challenges were raised that it

is improper to have a settlement that does not eliminate the Exclusive Service Areas (“ESAs”)

Rule because, even standing alone, it is a per se violation of the Sherman Act. Transcript of Final

Approval Hearing dated October 20, 2021 at 134:10 to 139:15 and 145:1 to 146:9. 2 As

Subscriber Plaintiffs explained both in their brief in support of final approval, (Final Approval


1
 Capitalized terms not otherwise defined herein shall have the meaning given them in the
Settlement Agreement, ECF No. 2610-2.
2
 The transcript of the Final Approval Hearing is cited as “Tr. I” for October 20, 2021 and “Tr. II
for October 21, 2021.
                                                  1
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Br., ECF No. 2812-1 at 64-68), and at the fairness hearing, (Tr. I at 52:1 to 73:20), the Court

need only satisfy itself that the arrangement that is being left intact under the Settlement is not

“clearly illegal” or “per se illegal.” Here, ESAs and the going-forward Blue system, with the

significant procompetitive benefits created by the Settlement, easily satisfies this standard. The

Objectors do not consider these changes, and essentially ignore the Court’s ruling on standard of

review in In re Blue Cross Blue Shield Antitrust Litig., 308 F.Supp. 3d 1241 (N.D. Ala. 2018),

interlocutory certification granted, 2018 WL 3326850 (N.D. Ala. June 12, 2018), leave to

appeal denied, 2018 WL 71522887 (11th Cir. Dec. 12, 2018) (“BCBS”).

       The conduct that the Court deemed potentially subject to a per se rule of antitrust liability

in BCBS was composed of the combination of each Blue plan agreeing, as a condition of

licensing the Blue Marks, “to not sell health insurance plans and services with the Blue Marks

outside of their respective geographic service areas” and each Blue Plan “limit[ing] the output of

non-branded health insurance and related health financing products by the licensees nationwide

[the National Best Efforts (‘NBE’) Rule].” 308 F.Supp. 3d at 1269. The Court in BCBS

emphasized that it was the combination of these practices operating together that was subject to

potential per se treatment:

       Today, the court faithfully applies Sealy [United States v. Sealy, Inc., 388 U.S.
       350 (1967) (“Sealy”)] and Topco [United States v. Topco Associates., Inc., 405
       U.S. 596 (1972) (“Topco”)] to the Rule 56 record before it and determines that, in
       navigating the antitrust landscape in this case, those decisions and their progeny
       remain polestars. Thus, the court concludes that Defendants’ aggregation of a
       market allocation scheme together with certain other output restrictions is due to
       be analyzed under the per se standard of review.

308 F.Supp. 3d at 1279 (emphases added). See ECF No. 2812-1 at 65-66. The Court noted this fact at

the final approval hearing. Tr. I at 85:11 to 85:22.




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       The proposed settlement eliminates this aggregation and includes acknowledged

procompetitive relief. Pursuant to it, the NBE Rule is banned. Pursuant to it, Blue Plans will be able to

compete on a non Blue-branded basis (i.e., on a “green” basis) in the ESAs of other Blue Plans. And

pursuant to it, Qualified National Accounts are able to solicit a Second Blue Bid from Blue Plans

located outside the geographic region where the account is headquartered. Thus, while ESAs may

remain, they function under the proposed settlement in a radically changed competitive environment.

The Court made this point explicitly in its order granting preliminary approval of the proposed

settlement, where it explained why the marketplace going forward if the proposed settlement is

approved will be quite unlike the marketplaces deemed to be anticompetitive in Sealy and Topco:

       In any event, however, this court’s decision was based on the aggregation of
       restraints that existed during the class period. The proposed Settlement currently
       under consideration alters Defendants’ business model.

       Where there are many pro-competitive benefits to a settlement -- such as here
       where the resolution abolishes National Best Efforts, makes available a second
       Blue bid in certain circumstances, removes restrictions on acquisitions, and when
       the “ultimate outcome on the merits [of the legality of the conduct as modified by
       the settlement is] uncertain” --undetermined legal issues will not bar a fair and
       reasonable settlement. See Swaney [v. Regions Bank, No.] 2020 WL 3064945, at
       *3 [(N.D. Ala. June 9, 2020) (quoting Parsons [v. Brighthouse Networks, LLC,]
       2015 WL 13629647, at *2 [(N.D. Ala. Feb. 5, 2015)]). Here, the court believes it
       has sufficient experience with the practices at issue in this case that were
       challenged by Subscribers (and Providers) to say, again preliminarily, that these
       structural changes, when implemented, likely will move the Blues’ system from
       the Per Se category into the Rule of Reason category and that procompetitive
       benefits will flow from these negotiated changes.

In re Blue Cross Blue Shield Antitrust Litig., 2020 WL 8256366, at *24-25 (N.D. Ala. Nov. 30, 2020).

       There is no basis therefore to conclude that the competitive world created by the proposed
settlement is in any way perpetuating a per se violation of the antitrust laws by allowing ESAs to
continue in use. The Eleventh Circuit has stressed that “unless the illegality of an arrangement under
consideration is a legal certainty, the mere fact that certain of its features may be perpetuated is no bar

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to approval.” Bennett v. Behring Corp., 737 F.2d 982, 987 (11th Cir. 1984). See ECF No. 2812-1 at 68-
70. In doing so, the Eleventh Circuit relied on the Eighth Circuit’s Grunin decision, which equated that
legal standard with whether the go-forward conduct is per se illegal. Id.; Grunin v. Int’l House of
Pancakes, 513 F.2d 114, 124 (8th Cir. 1975). No objector at the final approval hearing convincingly
demonstrated that this stringent standard is satisfied here. 3 As they have previously stated, Settlement
Class Counsel believe that ESAs in the go-forward system are not clearly illegal and instead that any
future challenge would be tested under the Rule of Reason, taking into account the procompetitive
benefits of the go-forward system. 4

        Since BCBS was decided, only one reported case has addressed it substantively and then only

in passing on a different topic: In re Delta Dental Antitrust Litig., 484 F.Supp.3d 627 (N.D. Ill. 2020)

(“Delta Dental”). The Court at the final approval hearing asked the proponents of the settlement to

address the significance, if any, of that opinion in the present context. Tr. I at 66:20 to 67:20. We believe

that the Delta Dental decision should have little if any significance for the Court’s resolution of the

questions that are before it as it determines whether to grant final approval to the Settlement. To begin

with, the court in that case was not called upon to assess, and did not assess or purport to assess, the

legality of the pre-Settlement Blue system, much less the legality of the Blue system as it will operate

in the event the Court approves the Settlement. The Delta Dental decision thus does not assess whether

that post-Settlement Blue system is “clearly illegal” within the meaning of the caselaw governing the




3
  As Subscriber Plaintiffs have already explained, Final Approval Br., ECF No. 2812-1 at 66, the
Court also expressly declined to resolve the question whether the Blues acted as a single entity
with respect to their management of the Blue marks, finding that affirmative defense depended on
facts that were in genuine dispute and required a trial. BCBS, 308 F. Supp. 3d at 1266.
4
 At the Final Approval hearing, Subscribers’ counsel explained: “if we did not believe--we, class
counsel, did not believe that there is no per se violation in this settlement agreement that will be
perpetuated either in the aggregate or looking at any of its features--if we did not believe that, if
we thought there was, we could not place it before you conscientiously for approval”. Tr. I at
53:17 to 53-22. .
                                                   4
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Court’s inquiry at the final approval stage. And even had the court ruled that the Delta Dental system

is unlawful under Section 1—and, make no mistake, it did not—the Delta Dental decision would still

have virtually no bearing on the Court’s determination of whether the going forward Blue system would

be clearly illegal because there is no indication that the court considered the Delta Dental system to be

indistinguishable, in all relevant respects, from the post-Settlement Blue system that is now before this

Court.

         This point is itself sufficient to address Delta Dental’s significance to the questions before the

Court. But Delta Dental’s significance is further reduced for two additional reasons: The opinion was

handed down in the completely different context of resolving a motion to dismiss under Fed. R. Civ.

P. 12(b)(6), and the court hedged its bets by also analyzing the alleged practices under the Rule of

Reason. First, the Delta Dental decision addresses only the threshold question whether the complaint

stated a claim under the Sherman Act. The court ruled only that plaintiffs had adequately alleged a

plausible per se claim based on Sealy and Topco “[p]rior to any factual development.” 484 F.Supp. 3d

at 635. The court also declined to dismiss claims that Delta Dental’s exclusive territories for branded

competition led to collusive artificially low reimbursement rates for dentists, noting that “[a]lthough

the factual basis for plaintiffs’ belief that defendants have agreed to restrict their non-Delta Dental

branded business is indeed modest, they have alleged facts that, if proven, may entitle them to relief.”

Id. at 639. In a footnote, it added that “[t]he basis for plaintiffs’ belief that a revenue restriction

agreement exists seems to be largely inferential. Plaintiffs allege that Delta Dental State Insurers in fact

conduct little to no competing business despite having the wherewithal to do so, and they point to

‘broad language’ governing defendants’ relationship that they construe as giving [Delta Dental of

Pennsylvania] the authority to impose and police the revenue restriction mechanism. This is perhaps a

slim reed on which to base their claim, but in the context of their allegations as a whole, I conclude that



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it is enough to entitle them to discovery.” Id. at 639 n.4 (citations omitted). This is quite unlike the

situation now before the Court.

       Second, the court in Delta Dental also separately examined the challenged conduct under a Rule

of Reason theory. It said, in connection with its analysis of whether the complaint had adequately stated

a claim for a violation under the Rule of Reason, that “Plaintiffs will undoubtedly have to develop the

record to define more precisely the geographic market that is relevant to their claims, but given that

they seek to represent a nationwide class and claim that defendants insure patients across the country,

their identification of the United States and the respective territories in which defendants participate in

the market as buyers of dental goods and services is sufficient at this stage.” Id. at 641. Likewise, it

rejected defendants’ assertion that market shares were inadequately pled, saying that “Defendants’

remaining arguments do not convince me that Rule 8 requires more detailed factual allegations than

those plaintiffs articulate concerning defendants’ market power.” Id. at 642.

       Thus, because the lawfulness of the Blues’ exclusive service areas was not at issue, and given

both the procedural posture in Delta Dental and that court’s application of the lenient standard of

pleading, the decision denying defendants’ motion to dismiss is not useful in addressing the adequacy

of the proposed settlement here.

II.    The Settlement Provides The Second Blue Bid To Eligible Members Of The
       Proposed Self-Funded Sub-Class To Be Certified Under Rule 23(b)(3).

       Subscriber Plaintiffs have proposed certification of two classes and one sub-class: an

Injunctive Relief Class under Rule 23(b)(2), and a Damages Class under Rule 23(b)(3), which

includes a Self-Funded Sub-Class. Initially, in support of our preliminary approval motion, we

described the second Blue bid (“SBB”) relief provided under Paragraph 15 of the Settlement

Agreement as relief provided to the members of the Injunctive Relief Class being certified under

Rule 23(b)(2). We believed then, and still believe now, that the SBB relief both addresses


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anticompetitive conduct that applies generally to the (b)(2) Injunctive Relief Class and provides

procompetitive relief that “will drive innovation and price reductions that will benefit the entire

health insurance market generally and ASOs 5 in particular.” Tr. I at 25:25 to 26:2. 6 For the reasons

set forth below, however, and as discussed at length at the final approval hearing, Subscriber

Plaintiffs have concluded that the SBB relief is more properly classified as divisible relief that is

being provided to the Self-Funded Sub-Class that is being certified under Rule 23(b)(3).

       By way of background, as we negotiated the terms of this Settlement with the Blues,

counsel for Subscriber Plaintiffs and counsel for the Self-Funded Sub-Class sought to obtain as

many additional Blue bids for as many ASOs as we could; ideally, as we have explained to the

Court, we would have secured a SBB for every large ASO that has employees dispersed among

different States or regions. See Tr. I at 23:20 to 24:20. The Blues, in turn, resisted this demand,

tenaciously seeking to preserve the existing features of the Blue system to the greatest extent

possible. Months of arms-length negotiations and hard bargaining ultimately resulted in the

compromise that is now before the Court; namely, the requirement that the Blues provide the right

to request an SBB to so-called “Qualified National Accounts”—a selection of national self-funded

accounts that meet certain dispersion criteria and that serve 33 million Members in the aggregate.


5The Self-Funded Sub-Class comprises those members of the Damages Class who purchased
administrative services only (“ASO”) plans, as well as the employees covered by those ASO plans.
The Sub-Class members are sometimes referred to herein as “ASOs”.
6
  As Subscriber Plaintiffs have consistently maintained, although an SBB will be provided only to
those ASOs satisfying the criteria for a Qualified National Account, the increased Blue-on-Blue
competition for those accounts will nevertheless benefit the entire ASO sub-class as a whole “by
generating new, innovative products and services that can be then made available to the
marketplace generally and lowering the overall prices that are paid.” Preliminary Approval Hr’g
Tr., Nov. 16, 2020 at 27:13 to 23. In addition, as Dr. Rubinfeld has opined, “all class members
also benefit from the increased flow of pricing information to insurance brokers and otherwise
throughout the market that results from increased bidding competition, including from bids not
presented to or even available to them.” Rubinfeld Suppl. Decl., ECF No. 2812-7 at ¶ 16.

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Settlement Agreement, ECF No. 2610-2 at ¶¶ 1.u, 15. See also Final Approval Br., ECF No. 2812-

1 at 75–89.

       Not long after completion of the preliminary approval proceedings, the Court advised the

parties that it had “serious concerns about [the SBB relief] being classified under (b)(2) with no

opt-out right and the potential burden that might have on the opt-out right.” Tr. I at 24:23 to 24:25.

Subscriber Plaintiffs and Defendants, accordingly, carefully studied the question whether the SBB

relief qualifies not only as classwide relief, but also as “indivisible” relief within the meaning of

recent caselaw interpreting Rule 23(b)(2) to require that (b)(2) class relief be “indivisible.” Wal-

Mart Stores, Inc. v. Dukes. 564 U.S. 338, 360 (2011). 7

       As the Supreme Court in Wal-Mart explained, “[t]he key to the (b)(2) class is ‘the

indivisible nature of the injunctive or declaratory remedy warranted—the notion that the conduct

is such that it can be enjoined or declared unlawful only as to all of the class members or as to

none of them.’” Id. (quoting Richard A. Nagareda, Class Certification in the Age of Aggregate

Proof, 84 N.Y.U.L.REV. 98, 132 (2009). Rule 23(b)(2) thus demands that plaintiff seek “an

indivisible injunction benefitting all its members at once.” Id. at 362. The Supreme Court has

since reaffirmed that certification under Rule 23(b)(2) is proper “ ‘only when a single injunction

or declaratory judgment would provide relief to each member of the class.’ ” Jennings v.

Rodriguez, 138 S.Ct. 830, 851-852 (2018) (quoting Wal-Mart, 564 U.S. at 362). 8 Lower courts

have applied the teaching of Wal-Mart to deny certification where the injunctive relief sought does



7
  Maureen Carroll, “Class Actions, Indivisibility, and Rule 23(b)(2),” 99 B.U.L.REV 59, 63 (2019)
(observing that, prior to Wal-Mart, “[t]hat term (“indivisible” or “indivisibility”) had never before
appeared in a published federal opinion as a Rule 23(b)(2) requirement”).
8
  See also id. (observing that Wal-Mart’s “holding may be relevant on remand because the Court
of Appeals has already acknowledged that some members of the certified class may not be entitled
to bond hearings as a constitutional matter”).

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not indivisibly benefit all class members at once, C.G.B. v. Wolf, 464 F.Supp.3d 174, 206 (D.D.C.

2020), where the injunction does not provide a uniform remedy, Castañeda Juarez v. Asher, 2020

WL 6434907, at *7 (W.D. Wash. July 6, 2020), or where the injunctive relief combines an array

of remedies, some of which will benefit only certain subsets of the class. Cholakyan v. Mercedes-

Benz, USA, LLC, 281 F.R.D. 534, (C.D. Cal. 2012). See also Jamie S. v. Milwaukee Pub. Sch., 668

F.3d 481, 499 (7th Cir. 2012) (holding that Rule 23(b)(2) is not satisfied where “the relief sought

would merely initiate a process through which highly individualized determinations of liability

and remedy are made”).

       The somewhat unique features of the far-reaching injunctive relief provided under this

Settlement Agreement, and in particular the features of the SBB relief provided under Paragraph

15, do not easily lend themselves to a simple, binary classification under either Rule 23(b)(2) or

Rule 23(b)(3). Because Blue-on-Blue competition will benefit the entire market for ASO services,

the SBB relief is in the nature of classwide relief. 9 But the mechanism used to create this classwide

benefit can also be characterized as individualized and divisible; 10 the Settlement provides a right

to request a SBB only to those individual Self-Funded Sub-Class members who satisfy the




9
  See, e.g., American Law Institute, PRINCIPLES OF THE LAW OF AGGREGATE LITIGATION, (“ALI”)
§ 2.04(a) (“Divisible remedies are those that entail the distribution of relief to one or more
claimants individually, without determining in practical effect the application or availability of the
same remedy to any other claimant.”). See id., Comment a (“When a claimant seeks a prohibitory
injunction or a declaratory judgment with respect to a generally applicable policy or practice
maintained by a defendant, those remedies—if afforded—generally stand to benefit or otherwise
affect all persons subject to the disputed policy or practice, even if relief is nominally granted only
as to the named claimant.”).
10
  Subscriber Plaintiffs will follow the practice of courts and commentators in the post-Wal-Mart
era, and the practice of this Court in this case, and will use the terms “divisible” and
“individualized” interchangeably to describe the relief available to the members of a (b)(3) class.

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definition of a “Qualified National Account.” 11 As the Court noted at the final approval hearing,

“some [ASOs] will benefit from second Blue bids, some will not.” Tr. I at 25:21 to 25:22. The

SBB relief thus does not fall neatly within either (b)(2) or (b)(3); it has characteristics of both

indivisible and divisible forms of injunctive relief.

       After extensive additional analysis, Subscriber Plaintiffs have come to the view that the

SBB relief is more appropriately treated as (b)(3) relief for purposes of class certification. Several

factors supported this decision. First, given that only certain qualifying ASOs will be entitled to

directly request a second Blue bid, the SBB relief seems more readily characterized as “divisible”

and thus tips the balance over to the (b)(3) side.

       Second, treating the SBB relief as individualized (b)(3) relief more readily conforms to the

Settlement Agreement, which provides that class members who opt out of the Damages Class do

not meet the definition of an Employer, and thus cannot satisfy the definition of a Qualified

National Account eligible to receive a SBB. Under the terms of the Settlement, in other words, an

ASO that opts out from damages relief is opting out of the right to receive a second Blue bid as

well. The Settlement Agreement thus places the SBB relief in the same category as individualized

damages, and does not equate it with the indivisible relief that is provided to the members of the

(b)(2) Injunctive Relief Class.

       Finally, the dispositive consideration for Subscriber Plaintiffs is that characterizing the

SBB relief as (b)(3) relief will afford greater protection to the rights of absent sub-class members.

Rule 23(b)(3) “allows class certification in a much wider set of circumstances but with greater

procedural protections.” Wal-Mart, 564 U.S. at 362. These protections include mandatory notice


11
  See, e.g., ALI § 2.04(b) (“Indivisible remedies are those such that the distribution of relief to
any claimant as a practical matter determines the application or availability of the same remedy to
other claimants.”).

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and opt out rights—neither of which applies to members of a (b)(2) class. Id. See also Gulino v.

Board of Education of City School Dist. of City of New York, 907 F.Supp.2d 492, 505 (S.D.N.Y.

2012) (declining to certify under Rule 23(b)(2) in case “where each class member would be entitled

to a different injunction or declaratory judgment” and observing that “[i]n order to obtain

individualized relief, a putative class must satisfy the requirements of Rule 23(b)(3), which

includes greater procedural protections, such as notice and opportunity for members to opt out of

the litigation.”) (internal citations and quotation marks omitted). At the final approval hearing, the

Court made clear its view that the ASO sub-class should be provided with supplemental notice and

a renewed opportunity to opt out.         Subscriber Plaintiffs agree. Providing these additional

safeguards and protections can only benefit the members of the sub-class.

       In sum, characterizing the SBB relief as (b)(3) relief is simply a better fit than (b)(2) and

is the framework that best protects the interests of absent class members. 12 Subscriber Plaintiffs

therefore submit that the SBB relief is properly treated as relief awarded to the Self-Funded Sub-




12
   As discussed at the Final Approval hearing, the fact that the historic and valuable SBB relief
achieved in this Settlement may not fit neatly under the rubric of either (b)(2) or (b)(3) relief as
those provisions of Rule 23 are applied in more conventional, run-of-the-mill class action litigation
cannot mean that it may not be provided at all. See Tr. I at 44:8 to 44:12 (Mr. Cooper: “[I]t surely
cannot be that Rule 23’s class certification buckets, (b)(2) and (b)(3), are so procrustean that a type
of meaningful, procompetitive injunctive relief is impermissible if it does not fit neatly, like a
glove, in one bucket or the other.”). Similarly, it would be an absurd result if a settlement class
that could otherwise properly be certified under Rule 23 had to forego some of the relief for which
it had successfully bargained—relief that would provide the members of the class with substantial
economic benefits—in order to remain amenable to certification under a single provision of that
Rule. Rule 23 avoids producing such a result when the relief won for the class does not all fit
perfectly under either Rule 23(b)(2) or Rule 23(b)(3) by permitting hybrid certification, whereby
some of the injunctive relief is provided to a class certified under Rule 23(b)(2) and the rest
provided to a class certified under Rule 23(b)(3), of the sort Subscriber Plaintiffs here propose.

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Class that is being certified under Rule 23(b)(3), rather than to the Injunctive Relief Class being

certified under Rule 23(b)(2). 13

       That the Settlement Agreement provides both injunctive relief that is individualized and

divisible, and injunctive relief that is indivisible and classwide, raises no obstacle to the

certification of the classes proposed by Subscriber Plaintiffs. Where the criteria of both Rule

23(b)(2) and Rule 23(b)(3) are satisfied, the Court may certify an indivisible class under Rule

23(b)(2) and a divisible, individual class under Rule 23(b)(3). See, e.g., Marriot v. County of

Montgomery, 227 F.R.D. 159, 175 (N.D.N.Y. 2005) (certifying a class under Rule 23(b)(2)

because “final injunctive or declaratory relief would be appropriate to the class as a whole

pertaining to the official Jail change-out policy” and a class under Rule 23(b)(3) because “[t]he

claims of the putative class members have common questions of law and fact that predominate

over such questions as to the individuals” and “[t]he circumstances of this case present a situation

where a class action is a superior method for fair and efficient adjudication of the claims”). In the

wake of Wal-Mart, courts have found certification of both a (b)(2) and a (b)(3) class to be

appropriate where, as here, a class action has obtained both injunctive relief that is indivisible and

classwide, as well as injunctive relief that is divisible and individualized. See, e.g., A.R. v.

Connecticut State Board of Education, 2020 WL 2092650 (D. Conn. May 1, 2020) (certifying

claims for injunctive relief that addressed systemic violations under Rule 23(b)(2), and claims for

divisible injunctive relief—i.e., individualized remedial education—under Rule 23(b)(3));


13
   To be clear, in seeking to classify the SBB relief as Rule 23(b)(3) relief, Subscriber Plaintiffs
are neither seeking to certify any classes for which they have not already sought certification, nor
altering the membership of any of these three classes. As the Court has recognized, “the class
definition, like the scope of the class” will not “change[] in any way” under this proposal to clarify
how the SBB relief is classified. Tr. I at 28:6 to 28:7. The pending request to certify these classes,
and the analysis of the criteria under Rule 23(a), Rule 23(b)(2), and Rule 23(b)(3), thus continue
to support certification.

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Easterling v. Connecticut Dept. of Correction, 278 F.R.D. 41 (D. Conn. 2011) (certifying

plaintiffs’ claims for classwide declaratory and injunctive relief pursuant to Rule 23(b)(2) and their

claims for individualized injunctive relief—i.e., reinstatement to their positions—pursuant to Rule

23(b)(3)). 14

        A.      Opt Outs from the Self-Funded Sub-Class Are Free to Pursue Their Claims
                for Individualized Relief So Long As That Relief Does Not Infringe Rule
                23(b)(2) Indivisible \Injunctive Relief and Release Approved By The Court.

        Several objectors have raised questions concerning how the release that Settlement Class

members will provide pursuant to Paragraph 32 of the Settlement Agreement will affect the ability

of those who opt out of the Self-Funded Sub-Class to pursue individualized claims for injunctive

relief, and specifically claims for a second or for additional Blue bids. They question whether the

scope of the relief and release being provided by members of the (b)(2) Injunctive Relief Class

renders illusory their right to opt-out of the Self-Funded Sub-Class and to pursue additional Blue

bids individually. These concerns are unfounded, and they present no obstacle to the final approval

of the Settlement.

        The release provided under the Settlement Agreement is, by its own terms, to “be

interpreted and enforced broadly.” Settlement Agreement, ECF No. 2610-2 at ¶ 32. “Released

Claims” are defined to include, inter alia, all known and unknown claims based upon, arising from,

or relating to the “factual predicates” of the Subscriber Actions and any issue raised in those


14
   See also Chicago Teachers Union, Local No.1 v. Board of Education, 797 F.3d 426, 443-45 (7th
Cir. 2015) (certification proper where “plaintiffs siphoned that portion of the complaint that
requested monetary relief and individual remedies into a request for 23(b)(3) class certification”);
In re Toll Roads Litigation, 2018 WL 4952594, at *8 (C.D. Cal. 2018) (“Though the Court doesn’t
certify the class under Rule 23(b)(2), the Court isn’t aware of any authority prohibiting the class
from seeking forms of injunctive relief just because the class is certified under Rule 23(b)(3).”);
In re Motor Fuel Temperature Sales Practices Litigation, 279 F.R.D. 598, 615 (D. Kan. 2012)
(approving certification of (b)(3) class seeking injunctive relief and monetary damages that had
originally been certified as (b)(2) class prior to Wal-Mart).

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actions. The release also provides that “[p]ersons or entities in both the Injunctive Relief Class

and the Damages Class release all Released Claims.” Id. The important point for present purposes,

however, is that the Settlement Agreement further provides that a Settlement Class member who

opts out of the Damages Class provides a more limited release. Specifically, the Agreement

provides, subject to certain exceptions not relevant here, that “[p]ersons or entities in the Injunctive

Relief Class but not the Damages Class, release only claims for equitable or injunctive relief.” Id.

(emphasis added).

        Read in isolation, these provisions could be interpreted to require class members who opt

out of the (b)(3) Self-Funded Sub-Class to release even claims for individualized injunctive relief,

including claims for a second Blue bid. This ambiguity requires clarification of two points

regarding the scope of the release provided by (b)(2) class members.

        First, all parties agree that members of the (b)(2) Injunctive Relief Class release only their

claims for equitable and injunctive relief that is indivisible; therefore, the release provided by the

members of the Injunctive Relief Class will not bar any claims for individualized relief by a class

member who opts out of the Self-Funded Sub-Class. This interpretation of the (b)(2) class release

is effectively mandated by Wal-Mart’s holding that claims for individual and divisible relief may

not be resolved in a class action certified under Rule 23(b)(2). It comports, moreover, with

subsequent decisions recognizing that Wal-Mart calls into question any (b)(2) class settlement that

purports to release a range of claims that is broader than that which could have been asserted on

behalf of a (b)(2) class. See, e.g., West Morgan-East Lawrence Water and Sewer Authority v. 3M

Company, 737 Fed. Appx. 457, 466-467 (11th Cir. 2018) (concluding that district court abused its

discretion by certifying a settlement class under Rule 23(b)(2) that purported to release




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individualized damage claims of class members). 15 The Settlement Agreement itself states that,

although its releases are to be interpreted and enforced broadly, they also are to be interpreted only

“to the fullest extent permitted by law.” Settlement Agreement, ECF No. 2610-2 at ¶ 32. Because

a (b)(2) class may not lawfully release claims for individualized injunctive relief, the release being

executed on behalf of the (b)(2) Injunctive Relief Class does not extend to any claims for divisible

individualized injunctive relief under (b)(3).

       Second, the release provided by members of the (b)(2) Injunctive Relief Class does not

render the right to opt out of the (b)(3) Self-Funded Sub-Class illusory, but will permit opt outs to

pursue any claims for individualized relief that they may be able to assert and prove after prevailing

in a damage liability trial, so long as the relief they seek does not undermine the (b)(2) class’s

injunctive relief provisions. As noted above, the Release provides that it extends no further than

permitted by law.

       The short of it is this: After Wal-Mart, the law is now clear that a (b)(2) class may assert,

and a (b)(2) class release may bar, only claims that challenge conduct that “can be enjoined or

declared unlawful only as to all of the class members or as to none of them.’” Wal-Mart, 564 U.S.

at 360 (internal quotations marks omitted). The (b)(2) class release here, therefore, can lawfully

bar only those claims that challenge conduct that is capable of being enjoined only as to all of the

class members or as to none of them. A class member who opts out of the Self-Funded Sub-Class



15
   See also Berry v. Schulman, 807 F.3d 600, 609 (4th Cir. 2015) (approving (b)(2) class
settlement’s release of indivisible injunctive relief and claims for statutory damages, since these
“are not the kind of individualized claims that threaten class cohesion and are prohibited by
Dukes”); In re: Google Inc. Cookie Placement Consumer Privacy Litigation, 934 F.3d 316, 329-
330 (3rd Cir. 2019) (questioning, and leaving “to the District Court on remand, whether a
defendant can ever obtain a class-wide release of claims for money damages in a Rule 23(b)(2)
settlement, and if so, whether a release of that kind requires a heightened form of notice either
under Rule 23(c)(2)(B) or due process tenets”).

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retains the right to pursue divisible relief including monetary relief and divisible injunctive relief

on any legal or factual basis. The release provided by the members of the (b)(2) class cannot and

does not bar a claim for a SBB and/or similar individualized injunctive relief.

        The Objectors have voiced the concern that the line between the type of (b)(3)

individualized injunctive relief that is not released by opt-outs, and the indivisible (b)(2) injunctive

relief that will be covered by the release, is not clear and well-defined. The parties, the Objectors,

and the Court have all devoted significant time and attention to this question in a good faith effort

to provide as much guidance as is possible to members of the (b)(3) Self-Funded Sub-Class who

will be faced with the decision regarding whether to exercise their opt-out rights. But let there be

no mistake: any remaining uncertainty that the Objectors are confronting is not ultimately a

product of the terms of the Settlement Agreement, but rather of the law itself. The Objectors will

now have to follow the same path and perform the same tasks as Subscriber Plaintiffs have: they

must consider “the landscape of the law” and review the caselaw interpreting Wal-Mart, determine

whether their claims seek the sort of relief that the courts have characterized as divisible and

individualized, and advise their clients accordingly on whether to exercise their right to opt out of

the litigation. See Tr. II at 19:16 to 19:21. Neither the parties nor the Court can resolve here and

now the merits of any claims for such relief that opt-out claimants may assert against individual

Blue plans in the future in a materially altered Blue system. Tr. II at 19:11 to 19:16 and 30:22 to

31:3.

        That said, the Settlement Agreement by no means leaves the Objectors without guidance.

Read in its entirety, its terms and provisions indicate the understanding of the Parties as to what

constitutes individualized relief that should not trigger the bar of the (b)(2) relief or release. In

particular, by providing the SBB relief to large national ASO accounts that have a significant



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presence in more than one ESA, the Settlement Agreement itself identifies certain (b)(3) Self-

Funded Sub-Class members who have an individualized basis for obtaining ASO bids from more

than one Blue Plan and specifies the criteria it uses to identify them. An ASO with a significant

presence in more than one ESA that opts out of the Self-Funded Sub-Class, therefore, could argue

based upon the terms of the Settlement Agreement itself that it has an individualized basis for

asserting a claim that it is entitled to request more than one Blue bid in order to prevent economic

injury to itself. Although such an ASO would be barred by the release provided by all members

of the (b)(2) Injunctive Relief Class from asserting a wholesale challenge to the lawfulness of the

ESAs, 16 it would not be barred from asserting a claim that, under the particular business facts and

circumstances of its own case, it is nonetheless entitled under the law to seek more than one Blue

bid for its business. An opt-out claimant could assert any legal claim that would potentially entitle

it to individualized relief; as the Court acknowledged, the key question is “whether you can pursue

the particular remedy.” Tr. II at 23:25 to 24:1. To reiterate, if a (b)(3) opt-out claimant seeks

divisible, individual injunctive relief after it prevails on liability, and it demonstrates that it is




16
   As the Court has itself recognized, the injunctive relief pursued by a (b)(3) opt out may not
infringe on the (b)(2) indivisible injunctive relief approved by the Court. Tr. II at 18:4 to 18:6. A
claim seeking an injunction prohibiting the operation of the ESAs, the local best efforts rules, or
the acquisition rules would thus be barred by the (b)(2) release because those features of the
Settlement Agreement could “be enjoined or declared unlawful only as to all of the class members
or as to none of them.” Wal-Mart, 564 U.S. at 360. An action seeking an injunction prohibiting the
operation of the ESAs would thus be seeking indivisible relief under Wal-Mart. An opt-out’s
action seeking such an injunction would also likely run afoul of any order by this Court approving
the Settlement Agreement. A claim seeking the invalidation of the ESAs would thus thwart the
(b)(2) release provided by the (b)(2) class and deprive the Court’s approval order of its effect. This
Court would, in that situation, be empowered by the All Writs Act to issue an injunction to
effectuate its judgment. Wesch v. Folsom, 6 F.3d 1465, 1470 (11th Cir. 1993). See also Faught v.
American Home Shield Corp., 660 F.3d 1289, 1293 (11th Cir. 2011) (citing Thomas v. Blue Cross
and Blue Shield Ass’n, 594 F.3d 823, 829 (11th Cir. 2010) (“injunctions are enforced through the
district court’s civil contempt power.”) (internal quotation marks omitted) (collecting cases); Tr.
II at 24:14 to 24:18, 30:10 to 30:21, 32:10 to 32:17, 112:24 to 113:8.
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necessary to request additional Blue bids in order to prevent economic harm to itself, such a request

will not be barred by any release in the Settlement Agreement as long as it does not seek to infringe

on the (b)(2) relief or release.

        The task of adjudicating the merits of any future claim brought by an opt out seeking

individualized injunctive relief must be left to a court of competent jurisdiction called upon to

interpret and apply the (b)(2) release to the opt-out’s specific claims for individualized relief in a

live controversy. This Court need not, and indeed should not, decide in this proceeding how the

(b)(2) release would operate in the context of specific claims for individualized relief that may be

asserted in future proceedings. See, e.g., In re AOL Time Warner ERISA Litig., 2006 WL 2789862,

at *12 (S.D.N.Y. Sep. 27, 2006) (declining to rule on whether certain state court claims of objector

would be released by the settlement because the “facts necessary for a resolution of this question

are not before the Court, nor does the Court have jurisdiction to formally dispose of the action”).

See also Cicero v. DirecTV, Inc., 2010 WL 2991486, at *7-8 (C.D. Cal. July 27, 2010) (refusing

to address whether particular claims fell within the release because to do so would involve

“rendering an advisory opinion”). 17

        B.      Supplemental Notice Will Be Provided To The Self-Funded Accounts.

        Courts have not hesitated to require supplemental notice under Rule 23(d)(1)(B) to provide

class members with additional relevant information that may materially affect their decision to opt



17
   See, e.g., In re Stock Exchanges Options Trading Antitrust Litig., 2005 WL 1635158, at *15
(S.D.N.Y. July 8, 2005) (preliminarily approving class settlement and holding that the “Court
cannot provide an advisory opinion as to the scope of the release”); In re Wells Fargo Mortgage-
Backed Certificates Litigation, 2011 WL 13240287, at *1 (N.D. Cal. Nov. 14, 2011) (declining
to require additional “‘clarifying’ language” to proposed release contained in settlement agreement
because “[i]n the face of nothing more than unidentified and purely hypothetical ‘potential’ claims
held by the Offerings’ trusts, such clarifying language would amount to an advisory opinion, which
is generally disfavored”).

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out. Mansfield v. Air Line Pilots Ass’n Intern., 2009 WL 2601296, *2-*4 (N.D. Ill. 2009) (ordering

notice and a new right to opt out of a (b)(3) class when the original notice did not fully lay out

potential conflicts between the interests of various class members); Stair ex rel. Smith v. Thomas

& Cook, 254 F.R.D. 191, 204 (D.N.J. 2008) (ordering supplemental notice to inform class

members of a cap on damages that would limit the class’s recovery and to permit class members

to opt out).

        Subscriber Plaintiffs have agreed that, pursuant to a Court-approved notice plan, a

supplemental notice should be provided to the Self-Funded Accounts to clarify that the SBB relief

is (b)(3) relief and that opting out of the Self-Funded Sub-Class thus entails opting out not only of

the right to damages but also of the right to receive a second Blue bid. This notice will also ensure

that no Self-Funded Account makes the decision whether to opt out of the (b)(3) Damages Class

under a misapprehension about the scope of its opt-out right. The supplemental notice will explain

that the SBB relief is deemed individualized and divisible injunctive relief, and that opting out to

make an individualized claim seeking such relief would not be barred by the (b)(2) class release

unless the relief sought would undermine or infringe the (b)(2) relief or release. The Supplemental

Notice will also explain to Self-Funded Accounts that, regardless whether they previously elected

to opt out, they may exercise their right to opt-out by a date to be set by Court order.

        Finally, because this supplemental notice will clarify the opt out rights of members of the

Self-Funded Sub-Class, and does not materially alter the terms of the Settlement Agreement itself,

an opportunity to submit additional objections to the Settlement Agreement is unnecessary. Rule

23(e) requires that a new fairness hearing be conducted only when material terms of the settlement

agreement have been renegotiated, and an additional opportunity to object is not required where

the changes are favorable to the members of the class. See, e.g., Shaffer v. Cont'l Cas. Co., 362 F.



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App’x 627, 631 (9th Cir. 2010) (“Although changes were made to the release after potential class

members received the notice, the changes did not render the notice inadequate because they

narrowed the scope of the release.”). See also Snyder v. Ocwen Loan Servicing, LLC, 2019 WL

2103379, *9 (N.D. Ill. 2019) (“no new notice is required where changes to a proposed settlement

are objectively favorable for class members and do not prejudice any benefit previously

promised”); Knuckles v. Elliott, 2016 WL 3912816, at *5 (E.D. Mich. July 20, 2016); Klee v.

Nissan N. Am., Inc., 2015 WL 4538426, at *5 (C.D. Cal. July 7, 2015); Keepseagle v. Vilsack, 102

F.Supp.3d 306, 313 (D.D.C. 2015).

III.   The Allocation Between The Self-Funded Sub-Class Members And The Fully
       Insured Class Members Was Reasonable And Rationale.

       At the final approval hearing, the Bradley Objectors asked the Court to reject and override

the arm’s-length allocation negotiation between Settlement Class Counsel and Self-Funded Sub-

Class Counsel that was approved by mediator Mr. Kenneth Feinberg, and replace that negotiated

resolution with one that they contend, without proof, is better. The presentations by all parties at

the final approval hearing amply demonstrated why these objections are meritless.

       While the discussion below walks through the major errors in the arguments made by the

Bradley objectors, one point stands out. The Bradley objectors and their proffered experts ignore

the differences between the fully insured and self-funded ASO markets, and thereby ignore the

fact that during the relevant time periods the fully insured business was vastly more profitable for

the Defendants than was the ASO business. This is evident both from public record evidence and

from documents produced in discovery. Indeed, some of these documents show that the fully

insured business could be anywhere from as much as four to ten times more profitable for some




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Defendants than the ASO business. 18 Other documents show that the ASO business was often not

profitable at all, and could be a loss leader or only a break-even line of business. 19 This large

difference in relative profitability is highly relevant to the allocation issue because higher

profitability is likely to correlate with a stronger claim that the prices generating those profits

contained a significant overcharge; conversely, the low levels of profitability, or zero profitability,

for the ASO business means that the Self-Funded Sub-Class would face much more difficulty in

showing an overcharge, and any overcharge it could show would likely be substantially smaller

than the overcharge in the fully insured market. The Bradley objectors ignore this. The actuarial

expert they presented at the final approval hearing admitted that he was vaguely aware of

documents reporting on this large difference in profitability, but said he did not investigate them.

Tr. II at 250:14 to 251:12, 252:24 to 253:16 and 255:9 to 257:3. He then gave this stunning




18
  See 2012 BCBS-CA Report at 4 and 9 (attached hereto as Ex. A) (showing predicted profits for
FI and losses for ASO and stating “in an environment where corporate g&a is not driven by
membership volume a fully insured member is worth 10 times a self funded member”); 2010
Anthem Report at 147 (attached hereto as Ex. B) (“Fully Insured business provides nearly 6
times as much Operating Gain PMPM as ASO.”); 2010 BCBS-AR Report, ECF No. 2812-12 at
3 (showing that FI was more profitable than ASO by more than 4.25 to 1).
19
  “The Congressional Research Service reported that commercial ASO contracts are break-even
deals on average . . . .” Bob Herman, Self-Service Insurance: Insurers Forced to Compete
Harder For Self-insured Customers, Modern Healthcare, January 03, 2015, at 3 (attached hereto
as Ex. C and cited by Bradley objector’s actuarial expert, Mr. Okpewho, ECF No. 2812-19 at 10
n.2). See also 2016 Anthem 10-K at 30 (attached hereto as Ex. D) (describing ASO as a business
with “lower margins” that had the potential to materially and adversely impact the company’s
profits if more business moved from FI to ASO”); 2011 BCBS-ID Report at 4 (attached hereto as
Ex. E) (“many Plans have opted to set prices such that the self-funded business makes some
contribution to overhead, but does not fully cover fixed costs.”); BCBS-AZ Report, ECF No.
2812-10 at 2 (noting that administering networks and insurance “is a low margin business.
Traditional functions such as claims and enrollment administration will generate very little profit
or become loss leaders”); 2013 BCBS-FL Report at 8 (attached hereto as Ex. F) (“In order to
remain in the market, Florida Blue has utilized a market based approach to setting ASO fees
which does not cover all our costs.”).


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admission, which undermines both the relevance of his methodology and opinions, as well as the

arguments made by the Bradley objectors:

               Q.      “Sir, do you believe that the allocation of damages should be based
                       on the relative amounts of overcharges that the two groups of
                       customers paid?

               A.      No.”

Tr. II at 258:21 to 258:24.

       This admission is fatal to the Bradley objectors. The point of the allocation is to

reflect a reasonable estimate of the relative size of the damages that the two groups of

customers could potentially have recovered. While it is very difficult to do that perfectly,

and many different metrics could reasonably be considered, a methodology that completely

ignores that fundamental question is obviously irrelevant.

       For these and other reasons given below, the Court should reject the allocation

arguments made by the Bradley objectors.

       A.      The legal standard for the allocation is reasonableness, not perfection.

       The Bradley objectors fail to come to grips with the relevant legal standard. The question

is not whether the allocation to the Self-Funded Sub-Class is perfect, or even whether the Court

believes it is the best conceivable allocation and the same allocation that the Court would have

ordered if the issue had been fully litigated. Rather, the inquiry is whether the allocation is

“reasonable” and “rational.” In re Payment Card Interchange Fee and Merch. Disc. Antitrust

Litig., 2019 WL 6875472, at *20 (E.D.N.Y. Dec. 16, 2019). “An allocation formula need only

have a reasonable, rational basis, particularly if recommended by experienced and competent class

counsel.” In re Am. Bank Note Holographics, Inc., 127 F. Supp. 2d 418, 429–30 (S.D.N.Y. 2001)

(quotation marks omitted) “Rule 23’s flexible standard allows for the unequal distribution of

settlement funds so long as the distribution formula takes account of legitimate considerations and
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the settlement remains ‘fair, reasonable, and adequate.’” Radcliffe v. Hernandez, 794 Fed. App’x

605, 607 (9th Cir. 2019) (quoting Fed. R. Civ. P. 23(e)(2)). Whether the allocation plan is equitable

is “squarely within the discretion of the district court.” In re PaineWebber Ltd. P’ships Litig., 171

F.R.D. 104, 133 (S.D.N.Y.), aff’d, 117 F.3d 721 (2d Cir. 1997) (per curiam); id. (“in the case of a

large class action the apportionment of a settlement can never be tailored to the rights of each

plaintiff with mathematical precision.”). The Bradley objectors never address this legal standard,

and therefore never tailor their arguments to an effort to show why the standard has not been met

here. It plainly has, as shown in our prior briefs and below.

       Moreover, the case law also recognizes that it is justifiable to allocate larger portion of the

settlement to the class members with the “strongest meritorious claims in the case.” See also In re

Ins. Brokerage Antitrust Litig., 282 F.R.D. 92, 116-117 (D.N.J. 2012). Here, for a number of

reasons, the fully insured class members have stronger claims than the Self-Funded Sub-Class

members. As shown below, the fully-insured class members have been in this case from the

beginning, and their damages claims indisputably include the entire period going all the way back

to January 1, 2008. By contrast, Self-Funded Sub-Class members have damages claims for a

smaller period, going back only to October of 2017. That means that fully insured class members

have a damages period that is 2.5x that of the Self-Funded Sub-Class members.

       In addition, the fact that not a single Self-Funded Account sought to file suit during the

eight years between the Cerven complaint and the settlement – as compared to dozens of fully

insured class members stepping forward to do so – speaks volumes about the extent to which ASO

sub-class members felt themselves to be suffering antitrust injury as a result of Defendants’

conduct. The ASO objectors who have come forward since the settlement was announced are

mostly large entities with very substantial resources; yet none saw fit to lend its resources to this



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litigation, or even to join it in a nominal way, during more than eight years of trench warfare

litigation.

        Further, as demonstrated by the economics expert presented by the Self-Funded Sub-Class

Settlement Counsel, the ASO market is more competitive than the fully-insured market because

additional substitute products—including third-party administrators, the option to administer

healthcare plans in-house, and the existence of large national health plan administrators like

United, Cigna, and Aetna—are available to self-funded ASO customers that are often not available

to fully-insured customers. Tr. II at 41:8 to 44:25. And as we have shown in our prior submissions

and again at the final approval hearing, the fully-insured market was vastly more profitable for

Defendants than the ASO market during the relevant time periods, and thus far more likely to yield

a substantial overcharge had the antitrust claims in this case gone all the way to trial. 20

         For all these reasons, there was a substantial difference in terms of the strength and overall

value of the claims held by fully-insured class members versus ASO sub-class members.

        B.     The mediation before Mr. Feinberg was a rational process that resulted in a
               reasonable allocation.

        As shown above, the Subscribers showed that the inquiry for the Court is whether the

allocation was rational and reasonable, not whether it was perfect. Here, the Subscribers and the

separate counsel and class representative for the Self-Funded Sub-Class engaged in an arm’s-

length mediation over the allocation issue before the highly reputable mediator Mr. Kenneth

Feinberg. At that mediation, both sides presented a settlement range to Mr. Feinberg: Settlement

Class Counsel’s estimates of the appropriate recovery for the Self-Funded Sub-Class ranged from



 See Final Approval Br., ECF No. 2812-1 at 108-110; Mason Expert Report, ECF No. 2812-9 at
20

7-8 and 15-16 (describing ASOs as less profitable than FI plans). See also supra notes 18 and
19.


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3.4% to 6.8%, while the Self-Funded Sub-Class Settlement Counsel’s estimates varied from 7.6%

to 16%. The two sides ultimately agreed on a compromise allocation of 6.5%, and presented that

to Mr. Feinberg. Mr. Feinberg approved the allocation compromise, and stated in his sworn

declaration:

   •   “the negotiated number falls towards the low end of Self-Funded Sub-Class Settlement
       Counsel’s estimate, and the high end of Settlement Class Counsel’s estimate . . . one would
       expect an outcome in that range” (ECF No. 2016 at ¶ 14);

   •   “The relative size of the Self-Funded Claimants’ share makes sense given the statute of
       limitations and premiums vs. administrative fees issues” (id.);

   •   “The fact that the division resulted from protracted negotiations between sophisticated
       counsel also supports its reasonableness.” Id.

       The legal and factual arguments presented by Subscribers and Self-Funded Sub-Class

counsel at the final approval hearing overwhelmingly support both the reasonableness of this

outcome, and the judgment of Mr. Feinberg in approving it.

       C.      The Self-Funded Sub-Class was not included in any complaint before 2020,
               and Eleventh Circuit case law would not allow their addition to relate back to
               2012.

       As shown at the final approval hearing, the original Cerven complaint did not include any

ASO customer as a class representative, did not purport to include ASO customers in the class

definition, and only referenced the ASO market to show that it was different from the product

market being alleged in the case. Tr. II at 149: to 150:24, 159:18 to 162:15. The Cerven Complaint

expressly defined the product market as follows: “The relevant product market is the sale of full-

service commercial health insurance products to individuals and small groups.” Cerven v. Blue

Cross and Blue Shield of North Carolina, 12-cv-17 (W.D.N.C) ECF No. 1 at ¶ 124. (“Cerven

Complaint”). This definition clearly refers to fully insured customers only, and excludes ASOs.

Indeed, the Cerven Complaint proceeds to allege facts showing that the ASO market is different

from the fully-insured market, in a paragraph entitled “Fully-insured health insurance versus ASO
                                               25
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products.” Id. at ¶ 129 (emphasis in original). There is thus no way to read the Cerven Complaint

as bringing claims on behalf of ASO customers, or as putting Defendants on notice that they were

likely going to face such claims in this class action. The same is true for each of the other

complaints filed in this case prior to the 2020 amendment that was filed at the time of the

settlement. Quite simply, the ASOs were never included – there was no ASO class representative;

there were no claims advanced on behalf of ASOs; the product market quite clearly excluded the

ASO market; and ASOs were only ever mentioned to show why they were not part of the relevant

product market at issue in the case.

       Under Eleventh Circuit case law, the foregoing facts make clear that the addition of ASOs

to this case in 2020 – as part of the overall settlement – does not relate back to the 2012 filing of

the Cerven Complaint. In Cliff v. Payco General American Credits, Inc., the Eleventh Circuit held

that courts in this Circuit may not allow relation back unless, at a minimum, it is shown that: (A)

the new claims arise out of the same conduct set out in the original pleading, (B) the defendant

will not be prejudiced, and (C) the defendant knew or should have known that it would have to

defend against the newly-asserted claims and plaintiffs. 363 F.3d 1113, 1131 (11th Cir. 2004). See

also Makro Cap. of Am., Inc. v. UBS AG, 543 F.3d 1254, 1259 (11th Cir. 2008).

       Here, the claims in Cerven and all subsequent complaints expressly put Defendants on

notice that they were not facing claims from ASO customers, and that the relevant product market

in the case excluded the ASO market. There would therefore have been no way for the ASO sub-

class to achieve the relation back that the Bradley objectors insist would have been the only

possible outcome.

       The only response the Bradley objectors had to this point at the final approval hearing was

to argue that large, fully-insured groups were also not in the Cerven Complaint, yet they have been



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given the benefit of the fully-insured class period going back to 2008. But there is an obvious

difference between how claims on behalf of large fully-insured groups relate to the claims in

Cerven and how those of ASO customers do: the former purchased the same type of product (i.e.,

fully-insured health insurance) as did the other class members in the Cerven Complaint; the latter

do not. ASO products and fully insured products are significantly different products. Fully-insured

products put the insurance company at risk for unexpectedly high healthcare costs, in exchange

for a premium calculated in advance; by contrast, ASO products provide “administrative services

only” and leaves the employer “at risk” for any unexpectedly high healthcare costs.

       Moreover, the Cerven and other complaints in this case defined “small groups” as including

all employers who purchased fully insured policies and had up to 200 employees. Cerven

Complaint at ¶ 130. That definition actually captures groups that go all the way up to the size

where self-insurance starts to become a viable option. Thus, most fully-insured groups fell squarely

within Cerven’s class definition, and there is a reasonable argument – and far better than that of

the Bradley Objectors -- that Defendants were put on notice that they may face the same claims

from other fully insured groups who fell outside the 200 employee cut-off.

       D.      The allocation of settlement funds was based on a reasonable, rational basis,
               and the Bradley objectors failed to show otherwise.

       As shown at the final approval hearing, there is no merit to the Bradley objectors’ demand

that the Court should alter the allocation between the Self-Funded Sub-Class and the fully-insured

class members.

       Other than the issue of the length of the respective damages periods, the Bradley objectors

make no serious effort to address the fact that the value of the claims held by fully-insured class

members was substantially larger than the value of the claims held by Self-Funded Sub-Class

members. Instead, they simply assert, with no support, that the antitrust violations are the same


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and therefore the harm suffered must also be the same. But that is not correct. The extent of the

harm depends upon the nature of the relevant product market – including the availability of other

viable competitors, and the extent to which the Defendants were able to extract substantial profits

from the customers in that market. Tr. II at 41:8 to 44:25. The Bradley objectors never address

that. They merely assume that the profitability and alleged overcharges in the ASO and fully

insured markets were the same. But they present no basis for that assumption, and the evidence in

the case, and in the public domain, directly contradicts it.

       As shown at the hearing, the expert retained by the Self-Funded Sub-Class (Dr. Joseph

Mason) performed a far more searching and thorough analysis than the experts retained by the

Bradley objectors. Dr. Mason explained at the hearing that he analyzed four different metrics that

could be used to compare the defendants’ ASO business to their fully insured business as a

potential basis for the allocation of settlement funds: gross revenues; net revenues; operating gain

differential; and revenue per member growth. Tr. II at 46:19 to 47:13. Pasted below is the chart

from Dr. Mason’s report showing the conclusions he reached as to the implied allocation to the

ASO sub-class using each one of these different metrics:




Mason Expert Report, ECF No. 2812-9 at 15.

       The Bradley objectors focus all their complaints on the very first of these four metrics –

gross revenue. It is that measure alone that contains what the Bradley objectors complain is an

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“apples to oranges” comparison by comparing total gross revenues from ASO customers to total

gross revenue from fully insured customers. Tr. II 49:9 to 52:1, and 55:5 to 57:13. As Dr. Mason

explained, that criticism was unfounded because the payments ASO customers made to providers

were not paid to Defendants and were never part of this case (and could not ever form the baseline

for any damages claimed from Defendants), whereas the full amount of the premiums paid by

fully- insured subscribers to Defendants was always part of this case (and could form the baseline

for any damages analysis).Tr. II at 49-8 to 52:1, 55:5 to 57:13, and 224:3 to 224:6. Regardless,

the fact is that Dr. Mason’s other metrics are not subject to this criticism. In particular, by looking

at “net revenue” and “operating gain differential,” Dr. Mason did something none of the alleged

experts for the Bradley objectors did – i.e., he looked at the relative profitability of the ASO and

fully-insured business, which is highly relevant because it correlates to the extent to which

Defendants could have extracted anticompetitive overcharges from those respective types of

different business. Tr. II at 45:1 to 45:25 and 208:22 to 211:24. Dr. Mason took this into account

as obviously relevant to the allocation issue (see id. and Mason Expert Report, ECF No. 2812-9 at

7-8); the Bradley objectors and their proffered experts totally ignored it. See Tr. II at 248:11 to

257:8.

         Both public record information and the documents produced in discovery in this case

show that the fully insured business is far more profitable to Defendants than the ASO business,

which has often been a barely break-even or even loss-making business. For example, a 2015

document that is cited (for other reasons) by the Bradley objectors’ proffered actuarial expert,

Mr. Okpewho, states that “The Congressional Research Service reported that commercial ASO

contracts are break-even deals on average . . . .” Modern Healthcare, January 03, 2015, at 3

(attached hereto as Ex. C and cited in ECF No. 2812-19 at 10 n.2). Likewise, the 2016 10-K filed



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by Anthem (the largest of Defendants), states that the ASO business has “lower margins” which

had the potential to materially and adversely impact the company’s profits if more business

moved from FI to ASO. 2016 Anthem 10-K at 30 (attached hereto as Ex. D) Documents

produced in discovery in this case state that “many Plans have opted to set prices such that the

self-funded business makes some contribution to overhead, but does not fully cover fixed costs.”

2011 BCBS-ID Report at 4 (attached hereto as Ex. E). See also BCBS-AZ Report, ECF No.

2812-10 at 2 (noting that administering networks and insurance “is a low margin business.

Traditional functions such as claims and enrollment administration will generate very little profit

or become loss leaders”); 2013 BCBS-FL Report at 8 (attached hereto as Ex. F) (“In order to

remain in the market, Florida Blue has utilized a market based approach to setting ASO fees

which does not cover all our costs.”). Other documents produced in discovery state that the fully

insured business could be anywhere from 4 to 10 times more profitable than the ASO business. 21

See also Final Approval Br., ECF No. 2812-1 at 108-110 and Mason Expert Report, ECF No.

2812-9 at 7-8 and 15-16 (describing ASOs as less profitable than FI plans).

       During cross-examination, the actuarial expert proffered by the Bradley objector (Mr.

Okpewho) gave several admissions establishing that his opinion and methodology cannot be relied

upon in determining whether the allocation in this case was reasonable. He admitted:




21
  See 2012 BCBS-CA Report at 4 and 9 (attached hereto as Ex. A) (showing predicted profits for
FI and losses for ASO and stating “in an environment where corporate g&a is not driven by
membership volume a fully insured member is worth 10 times a self funded member”); 2010
Anthem Report at 147 (attached hereto as Ex. B) (“Fully Insured business provides nearly 6
times as much Operating Gain PMPM as ASO.”); 2010 BCBS-AR Report, ECF No. 2812-12 at
3 (showing that FI was more profitable than ASO by more than 4.25 to 1). See also 2012
Bernstein Research Report, ECF No. 2812-11 at 11-12 (estimated that, for the industry as a
whole, FI business produced four times the profit that ASO business did); Booz Allen Hamilton
Report at 3-5 (attached hereto as Ex. G) (ASO business was “not profitable,” whereas FI
business is “profitable” and is a “Major sweet spot of underwriting”).
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           •   That he was never previously involved in an effort to allocate damages among class
               members. Tr. II at 249:16 to 249:23.

           •   That he never made “any effort to determine how much overcharge, if any, Blue
               Cross’s self-funded customers paid.” Tr. II at 249:13 to 249:15.

           •   That he was aware of a document stating that the fully insured business could be
               ten times as profitable as the ASO business. Tr. II at 250:14 to 250:24

           •   That this document is inconsistent with his contention that the Defendants valued
               ASO and fully insured lives the same. Tr. II at 251:17 to 252:2.

           •   That he relied upon a Modern Healthcare Magazine article, and that in one
               paragraph not cited in his report, it states that according to the Congressional
               Research Service, ASO contracts are on average “break-even”. Tr. II 254:20 to
               255:18.

           •   That he did not investigate whether Defendants made any money as part of his
               analysis, but that he knew Blue Cross fully insured pricing is not break even. Tr. II
               255:10 to 257-8.

           •   That he did not believe that the allocation of damages should be based on the
               relative amounts of overcharges that the two groups of customers paid. Tr. II at
               258.21 to 258.24.

       These admissions foreclose the Bradley objectors and the Court from placing any reliance

on Mr. Okpewho’s opinions regarding allocation. Far from showing that the allocation arrived at

through the arm’s-length mediation was irrational and unreasonable, Mr. Okpewho’s testimony on

cross-examination shows instead that it is the objections made by the Bradley objectors which are

unreasonable, unreliable, and meritless.

IV.    It Is Clearer Than Ever That The “Arbitration Clause” Objection Lacks Merit.

       The National Account Objectors originally contended that the Settlement should be

disapproved because it would “damage” them by displacing arbitration clauses in their Blue

contracts. In their reply, ECF No. 2812-19 at 30-34, they asserted that the Blues had “breached”

these arbitration agreements by entering into the Settlement.



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       In the wake of the Final Approval hearing, it is even more apparent that this objection is

without merit. In the first place, as numerous Settlement proponents pointed out at the hearing,

these Objectors (like virtually every other private and public litigant in the last 50 years) had never

bothered to assert the underlying antitrust claims in any forum at all, including by arbitration. And

when Objectors finally did assert them, they filed a lawsuit, not an arbitration demand. See

Complaint, Alaska Air Group, Inc., et al. v. Anthem, Inc., et al., 2:21-cv-01209-AMM (N.D. Ala.

9/4/21, ECF No. 1).

       Second, Objectors fail to address the most relevant in-Circuit authority, In re Checking

Account Overdraft Lit., 2020 WL 4586398 (S.D. Fla. Aug. 10, 2020). There, Judge King found

in the class settlement context that the existence of arbitration clauses in some class members’

contracts was no bar to approval, because the defendants had waived their arbitration rights. In re

Checking Account is thus closely aligned to the facts here: it is a class settlement; it overruled a

class member objection based on the existence of arbitration clauses; and it did so based on

defendants’ waiver of those clauses, through their agreement to the settlement. By contrast,

Objectors’ authority addresses objections to class certification by defendants; Objectors cite no

case, in or out of this Circuit, where a class member objected to the loss of arbitration “rights,”

much less one where that objection was sustained.

       Third, Objectors’ position makes no sense unless they are losing the right to assert the same

claim in arbitration that they would have in court: a claim against every Blue in the country for a

nationwide conspiracy to suppress competition, as presented in this MDL proceeding from the

outset. But Objectors effectively concede that their arbitration clauses are limited on their face to

the single Blue with which they have contracted. And their only response to this point is to suggest

via an unpublished, non-precedential decision, Northrop & Johnson Yachts-Ships, Inc. v. Royal



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Van Lent Shipyard, B.V., 855 Fed. App’x 468 (11th Cir. 2021), that the non-contracting Blues could

somehow be forced into arbitration. ECF No. 2380 at 22-23.

       Here too, Objectors’ authority comes up short. Northrop & Johnson holds only that non-

signatories may be joined in arbitration when “the plaintiff-signatory alleges substantially

interdependent and concerted misconduct by the signatories and non-signatories, and such alleged

misconduct is founded in or intimately connected with the obligations of the underlying

agreement,” quoting Lavigne v. Herbalife, Ltd., 967 F.3d 1110, 1118-19 (11th Cir. 2020)

(emphasis added).

       In this case, the “underlying agreement” is the contract between individual Objectors and

individual Blues to provide insurance services. In Lavigne, which is controlling, the Eleventh

Circuit made it clear that “it is not enough that the alleged misconduct is somehow connected to

the obligations of the underlying agreements; the misconduct must be founded in or inextricably

bound up with such obligations.” (Emphasis in original, citations omitted.) The anti-competitive

schemes alleged by Subscribers, such as the ESAs and National Best Efforts clauses, do not come

close to meeting this test. Those schemes are not referenced by, let alone incorporated in, the

insurance contracts between the Blues and their ASO/Objector clients. As in Lavigne, the Blues’

contracts with objectors are “at least one step” – and really more like two or three steps – “removed

from the actual transactions that generated” the class action complaints here. Thus, the arbitration

clauses at issue could not possibly cover the national class claims asserted by Subscribers, and the

Settlement cannot be less than “fair, reasonable and adequate” for folding those clauses into an

overall settlement agreement. 22




22
 The other reasons for overruling this objection are comprehensively set forth in the Final
Approval Br., ECF No. 2812-1 at 117-20, and need not be repeated here.
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V.      The Hart And Cochran Objections To The Plan Of Distribution Are Meritless.

        Objectors James Hart and George Cochran have objected to the Plan of Distribution, and

have submitted additional materials supporting their objections, though the substance of their

objections remains the same. Mr. Hart argues that self-employed individuals, who pay 100% of

their premiums, should not be subject to the Default option. As outlined in the Plan of Distribution,

any individual who believes that the Default option should not apply to them has the ability to

elect the Alternative option and provide documentation for a different allocation. Plan of

Distribution, ECF No. 2715-1 at 10-13. Thus, the basis of Mr. Hart’s objection is obviated by the

Plan of Distribution itself.

        Mr. Cochran complains that any unclaimed employee premiums revert to the employer,

rather than to the respective Net Settlement Fund. This issue was considered by Class Counsel in

developing the Plan of Distribution. In determining the Default percentages, one of the factors

considered by Class Counsel was the fact that FI Groups would retain 100% of the value of

unclaimed FI Employee premiums, and this allowed for the Default percentages for employees to

be higher than it otherwise might have been. Plan of Distribution, ECF No. 2715-1 at ¶ 19(f);

Chodorow PA Decl., ECF No. 2610-9 at ¶ 38. The Chodorow Declaration notes:

        FI Groups could benefit from their status as the residual claimant on FI Group
        premiums. Because part of the economic burden of FI Group premiums was borne
        by claimants that will not submit claims or that cannot surpass the minimum
        distribution threshold, the Default percentage to FI Employees can be increased
        somewhat without necessarily harming FI Groups relative to other claimants.
        However, increasing the Default percentages could improve both the claims
        submission rate and the potential for employees to exceed the minimum distribution
        threshold. This would further the economically reasonable goal of providing
        broader-based relief to the FI Authorized Claimants.

Chodorow PA Decl., ECF No. 2610-9 at ¶ 40. This provision of the Plan of Distribution is thus

reasonable and economically rational, which is all that is required.



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                                         CONCLUSION

       For all the foregoing reasons, Subscriber Plaintiffs request that the Court enter an order

granting final approval to the Settlement.




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Date: November 12, 2021                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 12, 2021, the foregoing Subscribers’ Post-Hearing

Brief In Support Of Final Approval Of Class Settlement was filed with the Clerk of the Court

and served on counsel of record via ECF.

                                                           /s/ Michael D. Hausfeld

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